Case 1:21-cv-01298-BPG Document 6 Deekad: 6/9/2074:5:32 265 Submission: 3/6/2021 5:32 PI

ADRIA J. M6GLAUGHLIN * IN THE

_ 874 Turf Valley Dr. - i
Pasadena, MD 21122 * CIRCUIT COURT |
Plaintiff ~*~ FOR
TARGET CORPORATION * HOWARD COUNTY |
Principal Office: 777 Nicollet Mall
Minneapolis MN 55402 *  Case.No.: C-13-CV-21-000195 :
Serve On Resident Agent: |
THE CORPORATION TRUST, -9 !
INCORPORATED | |
2408 York Road oF | |
Suite 201
Lutherville, Timonium MD 21093-2264 *

Defendant *
COMPLAINT AND ELECTION FOR JURY TRIAL ,

Adria J. McLaughlin, Plaintiff, by Joel G. Fradin, her attorney, sues Target,

Corporation (hereinafter “Target’), Defendant, and says:

1. That on or about March 14, 2018 the Plaintiff was a business invitee in the Target’
store located in Long Gate Shopping Center on Montgomery Road iti Howard County, Maryland, |
for the purpose. of looking for a mop to purchase. |

2. Plaintiff alleges that she saw a display of mops and other household cleanirig !
objects, walked over to the display and grasped one of the mops on display there, in ordef to |
examine it. Plaintiff avers that, when she did so, the overhead end-cap.of the frame of the display
came loose, fell off of the display and struck her on the left side of her face and mouth, which .
caused severe.and permanent damage to two teeth in the left side of her maxilla. Plaintiff alleges |
that one of those teeth broke off, feaving only the. root ‘behind, and the other tooth was fractured.

3, Plaintiff avers that there were no signs or warnings present at or fear the afore- i
described display. suggesting that there might be a danger to invitees from parts of the display |

falling off the display and striking invitees; no signs or warnings instructing invitees not to touch
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the goods in the display; and no signs or warnings instructing invitees to stand a certain distance
away from the display. Moreover, the dispiay was not roped off, nor were there any physical
barriers, or any other measure taken, calculated to prevent an invitee from getting close enough
to the display to either touch the goods on display or to be injured by an object falling off of the
display. Nor was there any sign instructing invitees to seek the assistance of store employees if
they wanted to examine any object in the display.

4. Plaintiff contends that the display in question was created and set up by the
agents and employees of the Target store in question. Plaintiff further contends that the
| Defendant owed a duty to all invitees, including the Plaintiff, to construct and set up their displays
so that the individual parts of the display would be tightly secured and not become loose over
time; and to make frequent inspections of their displays to ascertain whether any fittings had
become loose and therefore likely to fall and strike an invitee.

5. Plaintiff further contends that Defendants employees and agents were negligent
and breached their duty to the Piaintiff in failing to properly secure the end-cap as afore-
described; in failing to periodically inspect the display to make certain that all parts of the display,
| including the end cap in question, were still securely in place; in failing to place sign, warnings,
and/or barriers calculated to keep invitees far enough away from the display to prevent them from |
being struck by objects falling off the display; or place signs near the display instructing invitees
to seek the assistance of a store employee if they wanted to examine any object on the display.
Plaintiff further contends that the negligence of Defendant's agents and employees as afore-
described is imputed to the Defendant.

6. Plaintiff contends, therefore, that the Defendant knew, or reasonably should have
known, through the knowledge of its agents, that the end cap in question had become loose,

thereby constituting a safety hazard and risk of harm to invitees, and that Defendant had a

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reasonable opportunity to secure the end-cap or post warnings before Plaintiff was injured by it,

but negligently failed to do so.

7. Plaintiff alleges that, as a result of the negligence of the Defendant as afore-
described, Plaintiff was caused to incur serious, painful and permanent injury to her head, mouth
and teeth; to sustain severe shock and damage to her nerves and nervous system; to suffer great
physical pain and mental anguish; to incur great expense, both past and future, for dental and
other heaithcare; to lose time from her daily activities; and she was otherwise injured and

damaged.

WHEREFORE, Plaintiff claims damages in excess of Seventy-Five Thousand

 felG Lradie

SOEL G. PRADIN w/ Permission
CPF#7012010060

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CPF ID No. 8306010090
Co-Counsel for Plaintiff

Doilars ($75,000.00).
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ADRIA J. McLAUGHLIN * IN THE
Plaintiff  * CIRCUIT COURT
vs * FOR
TARGET CORPORATION * HOWARD COUNTY
Defendant * Case No.:

ELECTION FOR JURY TRIAL

Plaintiff elects to have the above-captioned case tried before-a jury.

  

LG. FRADIN w/ Permission _

Attorney for Plaintiff
